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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Christine M. Arguello


Criminal Action No. 20-cr-00013-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

3. BALDEMAR EDUARDO ORTIZ DE LA FUENTE,
4. ALFONSO ALEXIS MACIAS-ITURRALDE, and
5. MARIO ERNESTO MEJIA-MELGAR,

       Defendants.


                ORDER TO EXCLUDE TIME FROM SPEEDY TRIAL ACT
                         AND CONTINUE TRIAL DATES


       This matter is before the Court on Defendant Mejia-Melgar’s Second Unopposed

Motion for Ends of Justice Continuance (Doc. #106). The Court notes that neither

Defendant Macias-Iturralde nor Defendant Ortiz De La Fuente object to the

continuance. The Court has reviewed this Motion and Defendant Mejia-Melgar’s First

Unopposed Motion for Ends of Justice Continuance (Doc. #104), the case file, and the

reasons set forth in the motion, specifically:

       1. Defense counsel needs additional time for effective preparation of the case.

       Upon review, the Court finds pursuant to 18 U.S.C. § 3161(h)(7)(A) that the ends

of justice served by granting the motion outweigh the best interests of the public and the

Defendants in a speedy trial. It is, therefore,
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       ORDERED that Defendant Mejia-Melgar’s Second Unopposed Motion for Ends

of Justice Continuance (Doc. #106) is GRANTED as to Defendants Mejia-Melgar,

Macias-Iturralde and Ortiz De La Fuente and the Court hereby grants an ends of justice

continuance in this case of 60 days, which shall be excluded from the earliest speedy

trial clock of the Defendants, which currently stands at August 19, 2020. It is

       ORDERED that pretrial motions are due by September 8, 2020. Responses due

by September 22, 2020. If counsel believes that an evidentiary hearing on the pretrial

motions is necessary, a separate Motion for Evidentiary Hearing shall be filed at the

same time the pretrial motions are filed. No later than three days after the filing of the

Motion for Evidentiary Hearing, both counsel for the Defendants and counsel for the

Government shall confer and e-mail Chambers at

arguello_chambers@cod.uscourts.gov to set such a hearing.

       FURTHER ORDERED that the Final Trial Preparation Conference/Change of

Plea Hearing set for July 30, 2020, VACATED and RESET to October 6, 2020, at 3:00

PM. It is

       FURTHER ORDERED that five-day jury trial set to begin on August 10, 2020,

2018 is VACATED and RESET to October 19, 2020, at 8:30 AM.

       DATED: June 30, 2020

                                   BY THE COURT:

                                   _____________________________
                                   CHRISTINE M. ARGUELLO
                                   United States District Judge




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